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                               Exhibit L
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         About Us

             In this section                                                                                                                     




         Broadcom Inc., a Delaware corporation headquartered in Palo Alto, California, is a global infrastructure
         technology leader built on more than 60 years of innovation, collaboration and engineering excellence.


                    With roots based in the rich technical heritage of AT&T/Bell Labs, Lucent and Hewlett-Packard/Agilent, Broadcom focuses on
                    technologies that connect our world. Through the combination of industry leaders Broadcom, LSI, Broadcom Corporation,
                    Brocade, CA Technologies, Symantec's enterprise security business and VMware, the company has the size, scope and
                    engineering talent to lead the industry into the future.

                    Broadcom is focused on technology leadership and category-leading semiconductor and infrastructure software solutions. The
                    company is a global leader in numerous product segments serving the world’s most successful companies.

                    Broadcom combines global scale, engineering depth, broad product portfolio diversity, superior execution and operational focus
                    to deliver category-leading semiconductor and infrastructure software solutions so its customers can build and grow successful
                    businesses in a constantly changing environment.




                                                     You may not realize it, but you use Broadcom innovations every day. In fact, Broadcom
                                                     technology powers the most complex IT environments in the world.

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